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 8

 9                                UNITED STATES DISTRICT COURT

10                             NORTHERN DISTRICT OF CALIFORNIA
11                                    SAN FRANCISCO DIVISION
12   IN RE: CATHODE RAY TUBE (CRT)             Master File No. CV-07-5944-JST;
     ANTITRUST LITIGATION                      No. CV-13-03234-JST
13
                                               MDL No. 1917
14
                                               CLASS ACTION
15
     This Document Relates to:                 INDIRECT PURCHASER PLAINTIFFS’
16                                             RESPONSE TO ORDER TO SHOW CAUSE
     All Indirect Purchaser Actions            RE: OBJECTION TO EX PARTE
17                                             COMMUNICATIONS
18                                             Date: March 15, 2016
                                               Time: 2:00 p.m.
19                                             Judge: Honorable Jon S. Tigar
                                               Court: Courtroom 9, 19th Floor
20                                             Special Master: Martin Quinn (JAMS)
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 1            Lead Counsel hereby responds to the Order to Show Cause Re: Objections to Ex Parte

 2   Communications, Dkt. No. 4456 (“OSC”), as follows.

 3            In compliance with the OSC, Lead Counsel has filed some of the requested documents on the

 4   Case Anywhere docket. As to the remaining documents (IPP Counsel’s time and expense records

 5   and communications relating thereto), they should not be produced. All of these ex parte

 6   communications were proper under the terms of the Special Master’s Order Re: Motion to Compel

 7   Lead Counsel to Produce IPP Counsel’s Time-And-Expense Records (Dkt. No. 4211) (the

 8   “November 30, 2015 Order”), to which no one objected. Messrs. Cooper/Scarpulla have provided

 9   no basis for their request that these confidential materials and communications be filed in the public

10   record now. Such an order would be unprecedented and unnecessary in light of the Special Master’s

11   thorough review of the records and the Court’s ability to review them in camera.

12            Objectors Cooper and Scarpulla’s (“Cooper/Scarpulla”) request is an improper attempt to

13   circumvent the November 30, 2015 Order. This Order largely denied their motion for production of

14   IPP Counsel’s time and expense records and instead required their production to the Special Master

15   for in camera review (id. at 5). Because Cooper/Scarpulla failed to object to the November 30, 2015

16   Order and fail to show any legitimate need for IPP Counsel’s time and expense reports beyond what

17   they have already been provided, their request must be denied.

18   I.       RELEVANT PROCEDURAL HISTORY

19            On November 17, 2015, Cooper/Scarpulla filed a Motion to Compel Lead Counsel to

20   Produce all Indirect Purchaser Plaintiffs’ Counsel’s Time-And-Expense Reports. (Dkt. No. 4191.)

21   Lead Counsel opposed the motion on November 23, 2015 on procedural and substantive grounds,

22   arguing that (1) Cooper/Scarpulla had failed to serve a formal discovery request, failed to comply

23   with Civil L.R. 37-2, and failed to meet and confer with Lead Counsel as required by Fed. R. Civ. P.

24   37 and Civil L.R. 37-1; and (2) time record discovery is rarely permitted unless objectors show a

25   “legitimate need,” which they entirely failed to do in light of the vast amount of information

26   provided by IPP Counsel in support of the attorneys’ fee motion, and the fact that the Special Master

27   could review IPP Counsel’s time records in camera. Pursuant to this Court’s Order of November 18,

28   2015 (Dkt. No. 4195), Lead Counsel did not file this opposition brief in the Court record. A copy of

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 1   the opposition brief and the Declaration of Lauren C. Capurro in support thereof are attached to the

 2   Declaration of Mario N. Alioto In Support of Indirect Purchaser Plaintiffs’ Response to Order to

 3   Show Cause Re: Objection to Ex Parte Communications (“Alioto OSC Decl.”) as Exhibits A and B.

 4          Two other objectors joined in Cooper/Scarpulla’s motion to compel: Dan L. Williams & Co.

 5   and Sean Hull. Copies of these joinders are attached to the Alioto OSC Decl. as Exhibits C and D.

 6          On November 30, 2015, the Special Master issued his Order Re: Production of IPP Counsels’

 7   Time and Expense Records. (Dkt. No. 4211.) The Order concluded that Lead Counsel’s procedural

 8   objections were “technically correct,” but ultimately were not persuasive because “there simply is

 9   not time for normal motion and meet and confer practice.” (Id. at 3.) The Special Master also

10   agreed with Lead Counsel that “discovery of billing records should be rarely allowed because of the

11   very limited value they normally bring to the lodestar analysis. Lobatz v. U.S.W. Cellular of

12   California, Inc., 222 F.3d 1142, 1148 (9th Cir. 2000) (denying discovery by objectors of time

13   records); Fox v. Vice, 131 S. Ct. 2205, 2211 (2011) (“The determination of [attorneys’] fees should

14   not result in a second major litigation.”).” (Id.)

15          Nonetheless, the Special Master ordered Lead Counsel to provide a limited subset of IPP

16   Counsel’s time records (those of Lead Counsel and the three firms who joined the litigation in late

17   2014 as trial counsel, for the years 2014 and 2015 only) to Cooper/Scarpulla. (Id. at 4-5.) He

18   reasoned that their request “differ[ed] from those in other cases denying discovery of billing records,

19   including LCD, because they are brought not by outside objectors, but by two firms of class counsel.

20   This distinction is meaningful because, unlike outside objectors, these objectors have the experience

21   and first-hand knowledge of the case to provide potentially helpful analysis of the lodestar to the

22   Special Master.” (Id. at 3-4.)

23          The Special Master denied the other objectors access to the time records because they “have

24   not demonstrated adequate justification for disregarding the normal judicial reluctance to allow

25   objectors discovery of billing records,” and ordered Cooper/Scarpulla to “keep these records

26   confidential and not [] share them with other objectors or class counsel.” (Id. at 4-5.) The Order also

27   required Lead Counsel to produce the daily time records of all IPP Counsel to the Special Master for

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 1   an in-camera review. (Id. at 5 (“Lead Counsel shall produce to the Special Master only copies of the

 2   billing records of all class counsel. . . ”) (emphasis added).)

 3          The November 30, 2015 Order denied Cooper/Scarpulla’s motion for production of IPP

 4   Counsel’s expense reports, finding that “their justification for this demand is weak. Other than

 5   general conclusory statements, they point to no impropriety in the claimed expenses.” (Id. at 4.)

 6   The Special Master did, however, order Lead Counsel to produce “detailed backup for all expenses

 7   for his own review,” and to “recommend to the Special Master by December 2, 2015 a process for

 8   enabling him to spot check a representative sampling of expense receipts and other backup for

 9   claimed expenses, and shall keep available all backup for claimed expenses for the Special Master’s

10   inspection on request.” (Id. at 5 (emphasis added).) Significantly, neither Cooper/Scarpulla nor any

11   other objector objected to the Special Master’s November 30, 2015 Order. Their objections have

12   therefore been waived.

13          Lead Counsel complied with the November 30, 2015 Order, and on December 2, 2015,

14   submitted the subset of time records to Cooper/Scarpulla, and all IPP Counsel’s time records to the

15   Special Master. (Alioto OSC Decl. ¶ 4.) Also on December 2, 2015, Lead Counsel wrote a letter to

16   the Special Master in which he proposed a process for enabling the Special Master to spot check a

17   representative sampling of expense receipts and other backup for IPP Counsel’s claimed expenses.

18   (Id. ¶ 5.) None of these communications were posted on Case Anywhere because, aside from the

19   limited subset of time records provided to Cooper/Scarpulla, the November 30, 2015 Order provided

20   that the time and expense records be provided to the Special Master only for in camera review.

21          Despite being given access to Lead Counsel’s and the trial team’s billing records,

22   Cooper/Scarpulla were unable to articulate any specific objections to support their claims of

23   duplicative and excess billing. Their reply in support of their objections filed December 9, 2015

24   before the Special Master (Dkt. No. 4363 at 33) is replete with vague, hyperbolic accusations and

25   not much else. (See, e.g., id. at 1 (accusing the trial firms of “bill[ing] their way into familiarity with

26   the case, without even attempting to coordinate with or benefit from co-counsel who had been with

27   this case from the start.”).) Likewise, with regard to their contention that Lead Counsel wasted time

28   creating “unnecessary conflict” with the California Attorney General (“CA AG”),

                                                3
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 1   Cooper/Scarpulla’s reply in support of their objections doesn’t even refer to Lead Counsel’s time

 2   reports in the section dealing with the CA AG. (See id. at 4.)

 3           On December 15, 2015, this Court held a hearing on the motion by counsel for Direct

 4   Purchaser Plaintiffs in this MDL (“DPPs”) for an award of attorneys’ fees and expenses in their case.

 5   At this hearing, the Court commented on certain expense submissions by DPP counsel relating to

 6   travel, meals and lodging. Lead Counsel, while not participating, was present at the hearing.

 7   Immediately following this hearing, Lead Counsel adjusted the audit being conducted of IPP

 8   Counsel’s expense records to focus on the travel, meals and lodging expenses incurred by IPP

 9   Counsel.1 The goal was to ensure that these expenses conformed with the Court’s remarks. (Alioto

10   OSC Decl. ¶ 6.)

11           Lead Counsel completed the audit of these expenses and submitted a detailed audit report to

12   the Special Master on January 7, 2016. The audit resulted in the withdrawal of $36,153.07 in IPP

13   Counsel’s expenses. Lead Counsel also submitted to the Special Master expense receipts and other

14   backup for expenses as required by the November 30, 2015 Order. (Id. ¶7.)

15           After an in camera evaluation of the detailed expense submission, the Special Master was

16   satisfied that IPP Counsel’s expense request warrants approval. (See Dkt. No. 4351 (“R&R”) at 74-

17   77.) The Special Master found that “[t]he categories of expenses are listed in detail”; “Lead Counsel

18   appointed an Audit committee of several firms to review and verify the expenses, assisted by an

19   accounting firm”; and “Lead Counsel conducted another review of all the expense requests of every

20   class counsel firm and eliminated questionable items.” (Id. at 74-75.) In fact, the Special Master

21   wrote that it appeared to him that the supplemental review of expenses, which resulted in a

22   $36,153.07 reduction, “was meticulous and conservative—more conservative, in fact, than [the

23   Special Master] would have been in assessing the same expenses.” (Id. at 83.)

24           As for IPP Counsel’s time records, the Special Master categorically rejected

25   Cooper/Scarpulla’s objections and found that “class counsel’s billing records appear highly reliable

26   and detailed and that the time spent and the rates charged were reasonable for case of this

27

28   1
       Lead Counsel requested expense details from all IPP Counsel firms. Mr. Bonsignore withdrew his
     request for expenses (and fees) and never provided the requested information. See Dkt. No. 4270.
                                                  4
         INDIRECT PURCHASER PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE RE: OBJECTION TO EX
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 1   complexity[;]” (id. at 73); and “the billing entries showed that for the most part the case was staffed

 2   in a reasonably ‘lean and mean’ manner. For most firms, 75% or more of the work was performed

 3   by 2-3 lawyers consistently over the eight years. . . . Duplication of efforts was thus minimized.”)”

 4   (id. at 72 (emphasis added).)

 5           It is Lead Counsel’s understanding that the Special Master is providing the results of the

 6   expense audit to the Court for in camera review. Lead Counsel will also provide IPP Counsel’s time

 7   records to the Court upon request if they have not already been furnished by the Special Master.

 8   (Alioto OSC Decl. ¶ 8.)

 9   II.     EX PARTE COMMUNICATIONS WITH THE SPECIAL MASTER

10           In accordance with the OSC, Lead Counsel has filed on the JAMS Case Anywhere docket ex

11   parte communications with the Special Master regarding this case, except as listed below. (Alioto

12   OSC Decl. ¶ 9.)

13           Lead Counsel has not filed the following documents on Case Anywhere because they relate to

14   the submission of IPP Counsel’s confidential time and expense records for in camera review by the

15   Special Master, in compliance with the November 30, 2015 Order (Dkt. No. 4211 at 5). All of these

16   documents will be provided to the Court for in camera review upon request. (Alioto OSC Decl. ¶10)

17               DOCUMENT                                         DESCRIPTION
18     December 2, 2015 Letter from       This letter contains Lead Counsel’s initial recommendation
       Mario N. Alioto to Special         of a “process for enabling the [Special Master] to spot check a
19
       Master Quinn                       representative sampling of expense receipts and other backup
20                                        for claimed expenses,” in compliance with Para. 3 of the
                                          November 30, 2015 Order (Dkt. No. 4211 at 5). The Special
21                                        Master’s reference in the December 31, 2015 email to “Mr.
                                          Alioto . . . having his accountants perform a more detailed
22                                        audit of the expense requests,” (cited by Cooper/Scarpulla,
23                                        Dkt. No. 4437 at 14-15) is based on Lead Counsel’s initial
                                          recommendation to the Special Master for spot checking the
24                                        expense requests.

25     December 2, 2015 Email from        This email attached the December 2, 2015 letter
       Lauren Capurro to Special          referenced above and provided the link and instructions to the
26     Master Quinn                       Special Master and his Case Assistant for downloading IPP
27                                        Counsel’s time records. This email was sent in accordance
                                          with Para. 3 of the November 30, 2015 Order
28                                        (Dkt. No. 4211 at 5).

                                                5
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 1     December 2, 2015 Email from      This email provided the password necessary for downloading
       Lauren Capurro to Special        IPP Counsel’s time records, referenced above. The email was
 2     Master Quinn                     sent separately to ensure that the time records remained
                                        confidential.
 3

 4     Exhibits 1 and 2 to the          Exhibit 1 is a summary of the expense audit results and
       January 7, 2016 Letter from      Exhibit 2 is the detail of the disallowed expenses on a firm-
 5     Mario N. Alioto to Special       by-firm basis. Lead Counsel also provided all of the expense
       Master Quinn                     receipts and other backup materials received from IPP
 6                                      Counsel.
 7
       January 7, 2016 Email from       This email attached the January 7, 2016 letter from Mario N.
 8     Lauren C. Capurro to Special     Alioto to the Special Master that the Special Master refers to
       Master Quinn                     in his R&R (Dkt. No. 4351 at 75) and which has now filed
 9                                      on Case Anywhere. The email also provided the link and
                                        instructions to the Special Master and his Case Assistant for
10                                      downloading Exhibit 1 and 2 to the letter, and the expense
11                                      receipts and other backup materials received from IPP
                                        Counsel.
12
       January 7, 2016 Email from       This email provided the password necessary for downloading
13     Lauren C. Capurro to Special     Exhibits 1 and 2, and the expense receipts and other backup
       Master Quinn                     materials received from IPP Counsel, referred to above. This
14
                                        email was sent separately to ensure that the expense audit
15                                      materials remained confidential.

16     January 8, 2016 Email from     This email from the Special Master was in response to Lead
       Special Master Quinn to Lauren Counsel’s submission of the expense audit materials referred
17     Capurro and Mario N. Alioto    to above.
18
       January 9, 2016 Email from     This email responds to the Special Master January 8, 2016
19     Lauren C. Capurro on behalf of email regarding the expense audit.
       Mario N. Alioto to Special
20     Master Quinn
21
            Lead Counsel has also not filed on Case Anywhere emails to and from the Special Master
22
     dealing with matters such as:
23
           Requests for payment of JAMS bills and other billing matters;
24
           Requests by the Special Master to confirm that he had all necessary filings on a particular
25          matter;
26         Requests that Lead Counsel prepare stipulations regarding scheduling for circulation to the
            parties;
27
           Requests for cases cited in the briefs which the Special Master could not access;
28

                                                6
       INDIRECT PURCHASER PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE RE: OBJECTION TO EX
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 1             Requests by the Special Master to confirm that he had all necessary JAMS filings so that he
                could provide a complete record of these filings to the Court; and
 2
               Efforts by the Special Master in October 2015 to resolve objections to the settlements (with
 3              consent of the parties).
 4              These emails are administrative in nature and the Order Appointing Martin Quinn as Special

 5   Master permits such ex parte communications between counsel and the Special Master (see Dkt. No.

 6   4077 at 8, ¶6). Moreover, they are not in the nature of submissions for consideration by the Special

 7   Master in preparing his R&R. However, these emails will also be provided to the Court for in

 8   camera review or posted on Case Anywhere should the Court so require. (Alioto OSC Decl. ¶ 11.)

 9   III.       ARGUMENT

10              Cooper/Scarpulla’s request that the record be supplemented with all ex parte

11   communications with the Special Master, including time and expense records, is effectively another

12   motion to compel production of IPP Counsel’s time and expense records. As such, their request

13   amounts to an improper attempt to circumvent the Special Master’s November 30, 2015 Order (Dkt.

14   No. 4211), which largely denied their motion for production of IPP Counsel’s time and expense

15   records and instead required their production to the Special Master for in camera review. (Id. at 5.)

16   Cooper/Scarpulla fail to provide any legitimate need for IPP Counsel’s time and expense records

17   beyond what has already been provided to them, and have waived any objection to the November 30,

18   2015 Order. Their request must be denied.

19              A. Objectors Have Provided No Legitimate Need for Additional Time and Expense
                   Record Discovery
20
                Cooper/Scarpulla have provided no basis for this Court to disregard “the normal judicial
21
     reluctance to allow objectors discovery of billing records.” (Dkt. No. 4211 at 4.) Time record
22
     discovery is rarely permitted and should not be permitted in this case beyond what has already
23
     been ordered by the Special Master. “[T]he determination of [attorney’s] fees should not result in
24
     a second major litigation,” Fox v. Vice, 131 S.Ct. 2205, 2210 (2011); Lobatz v. U.S. W. Cellular of
25
     California, Inc., 222 F.3d 1142, 1148 (9th Cir. 2000) (affirming denial of “request for discovery of
26
     class counsel’s contemporaneous time records”); In re Genetically Modified Rice Litig., 764 F.3d
27
     864, 872 (8th Cir. 2014) (“discovery in connection with fee motions is rarely permitted”) (citations
28
     omitted).
                                                7
       INDIRECT PURCHASER PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE RE: OBJECTION TO EX
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 1           As Lobatz explains, the discovery sought by objectors often “impose[s] on district courts,

 2   as well as litigants, a rigid process . . . of little benefit” in evaluating the reasonableness of a fee

 3   award. 222 F.3d at 1148. That is particularly so where, as here, the objectors fail “to show any

 4   legitimate need for the records[.]” Id. Cooper/Scarpulla failed to show a legitimate need for all of

 5   IPP Counsel’s time and expense records before the Special Master, and they fail to do so again

 6   now. Indeed, the need for Cooper/Scarpulla (or any other objector) to review IPP Counsel’s time

 7   and expense records is even less compelling now given that the Special Master has now conducted

 8   a thorough, in camera review of the records and rejected all of Cooper/Scarpulla’s objections

 9   thereto. (See R&R at 54-55; 60-66; 70-75.) Cooper/Scarpulla fail to explain why the Special

10   Master’s review is insufficient.

11           Time record discovery is all the more unwarranted in light of the preference for the

12   percentage plus lodestar cross-check method typically employed in this type of case. Vizcaino v.

13   Microsoft Corp., 290 F.3d 1043, 1051 (9th Cir. 2002); Dkt. No. 4071 (Fee Motion) at 10

14   (collecting many cases). The percentage plus multiplier cross-check method not only aligns

15   class/lawyer interests in a sensible way, but avoids precisely the type of time entry-parsing in

16   which objectors seek to engage. See In re Activision Securities Litig., 723 F. Supp. 1373 (N.D.

17   Cal. 1989), cited with approval by In re Omnivision Technologies, Inc., 559 F. Supp. 2d at 1046

18   (“The Court finds [the] advantages persuasive, and adopts the percentage method in this matter.”).

19           Nor will additional discovery contribute anything of value to the Court’s lodestar “cross

20   check” analysis. As it stands, the Special Master has recommended a 2.13 multiplier on counsel’s

21   current lodestar (after the ten percent reduction) of $81,067,569.20. That proposed multiplier falls

22   well within the standard range, see Vizcaino, 290 F.3d at 1051, and no amount of line-by-line

23   examination by objectors will have any material bearing on the Court’s analysis. For example,

24   even a reduction of the lodestar by another ten percent (which is in no way warranted) would result

25   in a multiplier of 2.4. This would still be well within the standard and acceptable range. (See Dkt.

26   No. 4071 (IPPs’ Fee Motion) at 25 (collecting cases). See also Fox, 131 S.Ct. at 2216 (in

27   performing lodestar analyses, “courts need not, and indeed should not, become green-eyeshade

28   accountants” because the goal “is to do rough justice, not to achieve auditing perfection”);

                                                8
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 1   Goldberger v. Integrated Resources, Inc., 209 F.3d 43, 50 (2d Cir. 2000) (“where used as a mere

 2   cross-check, the hours documented by counsel need not be exhaustively scrutinized by the district

 3   court”); In re Rite Aid Corp. Sec. Litig., 396 F.3d 294, 306-07 (3d Cir. 2005) (“The lodestar cross-

 4   check calculation need entail neither mathematical precision nor bean-counting. The district courts

 5   may rely on summaries submitted by the attorneys and need not review actual billing records.”).

 6          Finally, “the information already provided [by IPP Counsel] in great detail is sufficient to

 7   enable [objectors] to analyze the propriety of the lodestar and expenses claimed.” (November 30,

 8   2015 Order (Dkt. No. 4211) at 4; see also Alioto OSC Decl., Ex. A, at 5-7 (describing the various

 9   submissions by IPP Counsel in support of the motion for attorneys’ fees and reimbursement of

10   expenses). In the face of this vast record, Cooper/Scarpulla cannot show any “legitimate need” for

11   discovery of IPP Counsel’s time and expense records. Lobatz, 222 F.3d at 1148; see also

12   Fed.R.Civ.P. 23(h)(1), Advisory Committee Notes (“One factor in determining whether to

13   authorize discovery is the completeness of the material submitted in support of the fee motion .... If

14   the motion provides thorough information, the burden should be on the objector to justify

15   discovery to obtain further information.”)

16          In short, the Special Master’s in camera review of IPP Counsel’s time and expense records

17   was more than sufficient. Providing these records to objectors would add no value to the process,

18   is a recipe for protracted and irrelevant sideshow disputes, and accordingly should be denied.

19          B. Objectors Have Waived Any Objection to the Special Master’s November 30, 2015
               Order Regarding Time and Expense Records
20
            Neither Cooper/Scarpulla nor any other objector objected to the November 30, 2015 Order
21
     within the required 14-day time limit (see Dkt. No. 4077 at 7). They have therefore waived any
22
     objection to the Order’s terms, including those providing that Lead Counsel would provide IPP
23
     Counsel’s time and expense records to the Special Master for in camera review. Their request that
24
     the above-listed communications relating to the submission of the time and expense records be
25
     filed in the public record must be denied on these grounds alone.
26
            Nor is there any argument that Lead Counsel’s communications with the Special Master
27
     went beyond the scope of the November 30, 2015 Order. It was necessary that Lead Counsel’s
28
     cover letters and emails submitting IPP Counsel’s time and expense records be sent only to the
                                                9
       INDIRECT PURCHASER PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE RE: OBJECTION TO EX
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 1   Special Master in order to preserve the confidentiality of the time and expense records themselves.

 2   For example, the emails on December 2, 2015 and January 7, 2016 submitting IPP Counsel’s time

 3   records and expense records contained a link and instructions for downloading these confidential

 4   materials. If those emails had been posted on Case Anywhere, anyone could have accessed them

 5   by following the instructions.

 6             Finally, the Special Master was acting well within his discretion when he ordered the time

 7   and expense records produced for his in camera review. See Fed. R. Civ. P. 53(f)(5) (“the court

 8   may set aside a master’s ruling on a procedural matter only for an abuse of discretion”). Indeed, it

 9   is standard practice in class actions for the district court to review class counsel’s time and expense

10   records in camera. See, e.g., Dkt. No. 4182 (ordering DPPs to lodge time and expense records

11   with the Court for in camera review).

12   IV.       CONCLUSION

13             For all of the foregoing reasons, Cooper/Scarpulla’s request that the record be supplemented

14   with all communications with the Special Master, including time and expense records, must be

15   denied.

16   Dated: March 8, 2016                           Respectfully submitted,

17
                                                     /s/ Mario N. Alioto
18
                                                    Mario N. Alioto (56433)
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                                                    Lead Counsel for Indirect Purchaser Plaintiffs
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       INDIRECT PURCHASER PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE RE: OBJECTION TO EX
                       PARTE COMMUNICATIONS - Master File No. CV-07-5944-JST
